
703 S.E.2d 734 (2010)
STATE of North Carolina
v.
Ludenia Danielle ARCHIE.
No. 383P10.
Supreme Court of North Carolina.
November 4, 2010.
Marilyn Ozer, Chapel Hill, for Ludenia Danielle Archie.
K.D. Sturgis, Assistant Attorney General, for State of N.C.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 7th of September *735 2010 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the Notice of Appeal Based Upon a Constitutional Question is Dismissed as Moot and the Motion to Dismiss the Appeal is
"Allowed by order of the Court in conference, this the 4th of November 2010."
Upon consideration of the petition filed on the 7th of September 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 4th of November 2010."
